     Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 1 of 15 PageID #:622




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HECTOR HERNANDEZ and
CHARLES TERMINI, individually, and on behalf
of all others similarly-situated,

          Plaintiffs,                                         Case No. 18-cv-7647

v.                                                            The Honorable Judge John Z. Lee

WILLIAM HELM, in his individual capacity;                     Magistrate Judge Mary Rowland
KEVIN MARTIN, in his individual capacity; and,
the CITY OF CHICAGO, as a municipal
corporation and as indemnitor,

          Defendants.

    PLAINTIFFS’ MOTION TO DISQUALIFY CORPORATION COUNSEL FOR
  ETHICAL VIOLATIONS INVOLVING DIRECT CONTACT WITH PLAINTIFFS,
  WITNESS INTIMIDATION, WITHHOLDING AND SPOLIATION OF EVIDENCE,
 CIRCUMVENTING AUTHORIZED DISCOVERY AND CONFLICTS OF INTEREST

          NOW COME, HECTOR HERNANDEZ and CHARLES TERMINI (“Plaintiffs”),

through undersigned counsel, Cass Thomas Casper, Esq., and move this Honorable Court for an

order disqualifying Defendants’ counsels, Jessica Durkin, Scott Crouch, and Corporation

Counsel, from further representation in this matter for a repeated course of ethical violations

ranging from direct contact with Plaintiffs through their clients, withholding discovery and

spoliation of evidence, witness intimidation, circumventing the authorized discovery process,

and being in a conflict of interest in representing the municipality at the same time as the

individual defendants.

     I.       Standards For Disqualification Of Attorneys.

          When determining whether to grant or deny a motion to disqualify an attorney, a trial

court must consider that “[a]ttorney disqualification is a drastic measure because it destroys the

attorney-client relationship by prohibiting a party from representation by counsel of his or her
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 2 of 15 PageID #:622




choosing.” Schwartz v. Cortelloni, 177 Ill.2d 166, 178 (1997); see also Freeman Equipment, Inc.

v. Caterpillar, Inc., 262 F.Supp.3d 631, 634 (N.D. Ill. 2017); Freeman v. Chicago Musical

Instrument Co., 689 F.2d 715, 721 (7th Cir. 1982); Guillen v. City of Chicago, 956 F. Supp.

1416, 1421 (N.D. Ill. 1997). Because disqualification impacts the right to counsel of the client's

choosing, disqualification is considered a drastic action to be taken by the court only where the

Rules of Professional Conduct preclude continued representation. Id. Therefore, a trial court

should grant a motion to disqualify an attorney only when absolutely necessary. In re Estate of

Klehm,363 Ill.App.3d 373, 377 (2006). In addition, the party seeking disqualification carries a

heavy burden to prove that his motion for disqualification is not being brought as a tactical

weapon to gain undue advantage in the litigation. SK Handtool Corp. v. Dresser Industries,

Inc., 246 Ill.App.3d 979, 989 (1993). Motions to disqualify opposing counsel are to be viewed

with extreme caution since these motions can be used as a means to harass opposing counsel and

interfere with the attorney-client relationship. In re Estate of Wright, 377 Ill. App. 3d 800, 804

(2007); In re Estate of Klehm, 363 Ill. App. 3d 373, 377 (2006).

   II.      Timing Of This Motion.

         The undersigned had not previously been aware of the standards for disqualification of

attorneys, nor was aware that the repeated ethical infractions that have been caused by the City

Corporation Counsel throughout this case could have given rise to a motion such as this.

Admittedly, this Motion comes on the heels of the City’s own efforts to disqualify the

undersigned but, in researching that Motion, the undersigned has become aware for the first time

that, indeed, there is actually a substantial basis to seek disqualification of the City’s lawyers in

this case due to the repeated, ongoing, continuous, and incessant ethical infractions engaged in

by Defendants and their lawyers that continue up to even the previous week. So too, Plaintiffs’



                                                  2
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 3 of 15 PageID #:622




counsels’ efforts to report ethical infractions1 and problems with this litigation have fallen

completely on deaf ears with Corporation Counsel, and been met with incredulity and ridicule

throughout this case.

           Accordingly, it is appropriate that the Court consider the full panoply of attorney conduct

in this case, including that conduct engaged in and tolerated by the City’s lawyers as it considers

disqualification.

    III.      Corporation Counsel Has Violated Rule 4.2 Resulting In Prejudice To Plaintiffs
              By Repeated Direct Contacts With Plaintiffs Through The Defendants In The
              Workplace.

           Rule 4.2 of the Illinois Rules of Professional Conduct states that, “In representing a

client, a lawyer shall not communicate about the subject of the representation with a person the

lawyer knows to be represented by another lawyer in the matter, unless the lawyer has the

consent of the other lawyer or is authorized to do so by law or a court order.” Ill. R. P. C. 4.2.

Comment 4 provides that “A lawyer may not make a communication prohibited by this

Rule through the acts of another.” Ill. R. P. C. 4.2(4). The latter comment is key because that,

in fact, is what has been happening, repeatedly, throughout this case since its inception.

           Specifically, Defendants have engaged in direct communication with Plaintiffs

throughout this case about the subject matter of this case with the knowledge of Corporation

Counsel. Most notably, former Defendant Alesia approached Plaintiff Hernandez in the

workplace on December 27, 2018 and engaged him in conversation for approximately 14

minutes. Hernandez Declaration, ¶¶3-4. Alesia pressured Hernandez to drop the lawsuit during

this conversation, Alesia was upset during it, and Hernandez was uncomfortable during the

conversation because Alesia was his boss and Hernandez had no choice but to speak with Alesia.


1
  There is some contemporaneous thinking that In re Himmel requires reporting of the rampant ethical infractions by
the City’s attorneys to the ARDC.

                                                         3
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 4 of 15 PageID #:622




Hernandez Declaration, ¶¶3-4. A screenshot from the December 27, 2018 video recording of

this is reprinted here (Hector is in the orange vest, Alesia is in the suit):




        See Ex. 1. The incident was made a part of the First Amended Complaint. FAC, ¶ ¶74-

77. Subsequent to this incident, Corporation Counsel did nothing whatsoever to stop further

direct contacts, despite having knowledge of an ongoing problem with it. Since the filing of the

lawsuit, Termini and Hernandez have been approached by associates of Bill Helm and asked to

drop the lawsuit. As one example, the week of July 10, 2019, Nick Thome approached Charles

Termini to relay a message from Bill Helm, to wit, that Bill Helm wanted Termini to stop the

investigations and end the lawsuit. Termini Declaration, ¶2. As another example, Hernandez

was approached by Benji Rivera on or about July 16, 2019, who relayed a message from Bill

                                                   4
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 5 of 15 PageID #:622




Helm that if Hernandez would drop the lawsuit, Hernandez would be rewarded. Hernandez

Declaration, ¶2. As yet another example, in the week of August 8, 2019, Termini was

approached by Nick Thome and advised that Helm was promising to take care of Termini if he

would drop the lawsuit and that there would always be a place in the Training Section for

Termini if he did so. Termini Declaration, ¶3. On July 19, 2019, Plaintiffs also reported this

direct contact to the Corporation Counsel but were met with disdain, incredulity, and ridicule.

Termini Declaration, , ¶3. The behavior has not stopped despite being reported to Corporation

Counsel.

       Defendants’ counsels have gained a direct advantage in this litigation as a result of the

prohibited direct contact. This includes because they now have a witness, Joseph Alesia, who

will claim that Hernandez told him that he “knew Joe was not political” and was going to “drop

the lawsuit,” during the December 2018 interaction described above. Hernandez Declaration, ¶4.

Hernandez, of course, totally denies saying this, but it is now an issue because of the prohibited

direct contact. Hernandez Declaration, ¶4. So too, Hernandez did not have any choice but to

talk to Alesia given that Alesia is one of his supervisors and this occurred in the workplace.

Hernandez Declaration, ¶4. Because of this direct contact, the City of Chicago will now have a

witness who will say that Hernandez said this, even though no direct contact ever should have

been had or allowed. Accordingly, the direct contact has concocted an allegation favorable to

the City, that Hernandez must now rebut, and that never would have been present but for the

prohibited contact. Worse still, the City has done nothing to correct this behavior, except to meet

the claims of direct contact with incredulity and ridicule. Termini Declaration, ¶3.

       Accordingly, due to the ethical violation and the prejudice resulting from it, the

Corporation Counsel should be disqualified. Indeed, this is the only remedy because



                                                 5
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 6 of 15 PageID #:622




Corporation Counsel, Jessica Durkin, and Scott Crouch, have shown an utter unwillingness to

correct the behavior of their clients, or to take the allegations seriously, and all of this has

resulted in severe prejudice to the case.

    IV.      Corporation Counsel Has Engaged In Witness Intimidation With Respect To
             Nick Thome Specifically, And Plaintiffs Throughout This Case, In Violation Of
             Rules 3.4 And 4.4.

          Rule 3.4 of the Illinois Rules of Professional Conduct states that “A lawyer shall not: (b) .

. .counsel or assist a witness to testify falsely. . .” Rule 4.4 of the Illinois Rules of Professional

Conduct states that “In representing a client, a lawyer shall not use means that have no

substantial purpose other than to embarrass, delay, or burden a third person, or use methods of

obtaining evidence that violate the legal rights of such person.” Ill. R. P. C. 4.4(a).

          1. Specific Intimidation And Pressuring With Respect To Nick Thome.

          In this case, Nick Thome approached Termini at the time clock on or about September 9,

2019, and advised Termini, words to the effect, that “the Law Department was harassing him to

sign a document,” that he had “received numerous phone calls from the Law Department about

the document,” that he was “uncomfortable signing the document,” and “he was scared and did

not know what to do.” Termini Declaration, ¶5. Nick Thome has relayed to Termini that he is

also currently under investigation by the City’s Office of the Inspector General relating to

receiving and selling Cubs tickets from third-party vendors in the scope of his employment, and

he has advised Termini that he was just interviewed by the OIG in August 2019, and is under a

great deal of stress about the investigation. Termini Declaration, ¶6. Accordingly, the Law

Department’s actions (1) have subjected Thome to undue pressure, and (2) been placed upon

Thome during a time when he is subject to pressure due to being under investigation by the

City’s OIG. This is wholly improper by the Law Department and constituted improper witness



                                                    6
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 7 of 15 PageID #:622




tampering and influencing the evidence and witness to give testimony while concurrently and

actively under pressure of an OIG investigation.

       2. Intimidation With Respect To Plaintiffs And Their Counsels As Reflected In Dkt. 64.

       The acts described in the prior section on direct contact all comprise witness intimidation.

Permitting their Clients to repeatedly approach Hernandez and Termini, either personally or

through associates, has had the effect of intimidating Hernandez and Termini and chilling their

desire to pursue this lawsuit. Actual prejudice has resulted from the City’s tactics with respect to

Thome, Hector, Charles, and the undersigned, because it obtained a declaration from Thome that

it is now using to attempt to disqualify the undersigned in this case. So too, Hector and Charles

are under extreme pressure to drop the suit as a result of the City’s conduct and its toleration of

the hostile work environment.

       So too, Dkt. 64 in this case includes multiple exhibits and accounts of specific acts of

intimidation that have occurred throughout this case, ranging from Hernandez receiving the

“cock” and “gay pride” voicemail (Dkt. 64, Ex. 3), to Termini being called a “Jagoff” (Dkt. 64,

Ex. 4), to the Union being allowed to access the workplace and create divisions against the

Plaintiffs and post its defamatory letter (Dkt. 64, Ex. 7), to Plaintiffs being mocked and ridiculed

via memes, Social Media, and in the workplace such as being subjected to farting and bathroom

noises on the radio (Dkt. 64, Exs. 9-11), to Hernandez being assigned bedbug ridden trucks (Dkt.

65). All of this has been reported to the City of Chicago Corporation Counsel, specifically to

Jessica Durkin and Scott Crouch. See Termini Declaration, ¶3. Yet, the harassing actions

continue to occur on an approximate biweekly basis as to each of the Plaintiffs.

       All of these issues can be laid at the feet of Corporation Counsel, who has ignored

complaints and concerns, met them with ridicule and incredulity, and done nothing to stop these



                                                   7
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 8 of 15 PageID #:622




tactics. Because these lawyers have expressed no concern whatsoever for the well-being of the

workforce their purportedly should be working for, have allowed and tolerated witness

intimidation and harassment, the Court has no choice but to require that the Defendants have

alternative counsel who will take this case seriously. Accordingly, due to the ethical violation

and the prejudice resulting from it, the Corporation Counsel should be disqualified from this

case.

    V.        Corporation Counsel Has Failed To Maintain Video Evidence Crucial To This
              Case In Violation Of Rule 3.4.

          The Law Department has engaged in spoliation by failing to maintain a videotape of the

alleged December 26, 2018 interaction between Hernandez and Alesia. See Ex. 2 (Rodriguez

Letter). The relevant excerpt of the City’s letter admitting the video tape was not kept is as

follows:


                As you will see in the MIDP production we have produced the videos provided
        to us by the City of Chicago. It has come to our attention that when the videos were requested
        there was a typo in the name of one of the videos requested which resulted in the wrong
        video being provided. Because this error was not caught on time, the original and correct
        video was recorded over. As such, the only relevant video is LDG-502-AMC-Bay B-East-
        Dispatch Office 8:00 – 8:15. Please see Alesia’s supplemental MIDP response number 3
        for corresponding bates range. However, all the videos received by our office are produced
        in good faith and for your review.


          Ex. 2, p. 2. The explanation given by City attorneys is patently false because Howard

Levine contacted the undersigned following the December 2018 direct contact, so the City

obviously knew about the tape in December 2018, knew it had to preserve the tape, and months

later it is finally revealed that the tape was destroyed. The failure to preserve this videotape

constitutes at least negligent, if not intentional, spoliation of evidence. It also constitutes a

violation of Rule 3.4(a), stating that “A lawyer shall not: (a) unlawfully obstruct another party’s



                                                    8
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 9 of 15 PageID #:622




access to evidence or unlawfully alter, destroy or conceal a document or other material having

potential evidentiary value.” Ill. R. P. C. 3.4(a). This has resulted in obvious prejudice to

Plaintiff Hernandez because the City is now claiming – intertwined with its inappropriate direct

client contact – that Hernandez made statements and engaged in conduct harmful to this suit, but

did not preserve the video evidence that would obviously rebut this. Accordingly, due to the

ethical violation and the prejudice resulting from it, as well as the Corporation Counsel’s bevy of

other ethical violations in this case that demonstrate an unwillingness to correct their behavior,

the Corporation Counsel, Jessica Durkin, and Scott Crouch should be disqualified from this case.

   VI.      Corporation Counsel Has Withheld Evidence In Violation Of Rules 1.3 And 3.4
            And This Court’s MIDP Standing Order.

         Plaintiffs served discovery requests on Defendants on April 17, 2019 seeking emails and

text messages from the individual Defendants. At an ESI conference, the parties agreed upon

further limitations on search terms and custodians. However, as of this Motion, the first emails

and texts produced were given on September 12, 2019, and they constituted almost entirely spam

emails (such as emails from campaigns seeking money) that are of no use whatsoever. So too,

Defendant Alesia’s previous document production has email printout dates at the top of February

2019 at the top, yet they were not produced to the Plaintiff’s until July 23, 2019, with no

explanation given for the withholding of these documents for such a long period of time. For

example, here is a sample document from Alesia’s document production, showing that either he

or his attorneys had these emails on or about 2/10/2019:




                                                 9
   Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 10 of 15 PageID #:622




       See Ex. 3. Despite the upper left-hand corner date of “2/10/2019,” this document was not

produced to Plaintiffs’ counsels until July 23, 2019, which is months after the MIDP disclosure

date, and months after Plaintiffs’ sent their discovery requests to Defendants on April 17, 2019.

Under the MIDP, disclosures are to be made within 30 days after gaining knowledge of the

existence of information. See MIDP Standing Order, ¶6 (“A party must serve such supplemental

responses in a timely manner, but in no event later than 30 days after the information is

discovered or revealed to the party.” (emphasis added)). Why were these crucial emails from

Defendant Alesia withheld until July 23, 2019, if they were printed out or obtained on February

10, 2019? And this matters, too, because the direct contact allegation surfaced on July 19, 2019,

just days before these emails were finally disclosed to Plaintiffs’ counsels on July 23, 2019.

Someone was, therefore, likely stressed about having provided these documents.

       Further, the non-disclosure of this email severely hampered this case, because, had it

been disclosed earlier, Alesia more than likely would have been dismissed from the lawsuit at an

earlier date, and the course and trajectory of this lawsuit altered, as the emails demonstrate that

Defendant Helm was requiring that all OIG Interview Notifications go through him so that he

could influence the investigations.




                                                 10
   Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 11 of 15 PageID #:622




       These tactics and behavior violate Rule 1.3, stating “A lawyer shall act with reasonable

diligence and promptness in representing a client.” Ill. R. P. C. 1.3. They also violation Rule 3.4,

stating “A lawyer shall not: (1) unlawfully obstruct another party’s access to evidence . . .(d) in

pretrial procedure. . .fail to make reasonably diligent effort to comply with a legally proper

discovery request by an opposing party.” Ill. R. P. C. 3.4(a), (d). The problem is that the text

messages and emails are among the key evidence in this case. For example, the following text

message between Helm, Thome, and Martin was uncovered by Plaintiff’s counsels:




       See Ex. 4. Despite that email and text evidence is known to exist, Defendants have

produced nothing relevant since the discovery requests were issued on April 17, 2019, except for

spam emails to the Defendants from candidates.

   VII.    The City Of Chicago Is Circumventing The Established Discovery Rules 26
           Through 37 By Conducting A Secret Investigation Into Hernandez
           Simultaneously With This Lawsuit.

       In addition to all of the foregoing problems, the City of Chicago is circumventing the

discovery process by sending out a third-party subpoena – and possibly others – to obtain

information about Hernandez’ financial records that is potentially relevant to the claims in this


                                                 11
    Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 12 of 15 PageID #:622




suit, without giving notice to Plaintiffs or their counsels. See Ex. 5. This is an unauthorized

circumvention of the established discovery rules and, frankly, is cheating.2

         While Plaintiffs’ attorneys cannot locate an exact case in this District dealing with this

issue, a Court in the Fifth District hit the nail on the head with the problem presented here. In SEC

v. Life Partners Holdings, Inc., 2012 WL 12850253 (W.D. Texas, 2012), the Court confronted

whether a deposition conducted by the SEC of a non-party witness while the Complaint was

pending, but before the parties’ Rule 26(f) conference occurred, was a sanctionable violation of

the Federal discovery rules. Id. at *1. The Court observed as follows:

“Administrative agencies, however, are “unquestionably bound” by the FRCP when they are
parties in civil actions. FTC v. Turner, 609 F.2d 743, 745 n.3 (5th Cir. 1980). Rule 26(d)(1) of the
FRCP prevents parties from seeking discovery before the Rule 26(f) conference has taken place.
Rule 30(a)(2)(A)(iii) requires parties to seek leave of court in order to take a deposition before
the Rule 26(f) conference. Under Rule 30(b)(1), parties are required to provide notice to every
other party before taking a deposition. The Court is granted authority to impose an appropriate
sanction on a person who frustrates the fair examination of a deponent under Rule 30(d)(2).

         Id. The Court then ruled that “if the deposition [of the third party] was not part of a purely

administrative investigation unrelated to the present case against Defendants, then it was subject

to the FRCP.” Id. at *2. Because a large portion of the questions and answers in the deposition

related to the allegations in the Complaint, the Court found that the SEC was subjected to the

FRCP and could not use its own investigative tools to circumvent the FRCP. Id. The Court aptly

reasoned as follows about this:

“Plaintiff cannot administer an extra-judicial deposition regarding an investigation, elicit
testimony during that deposition regarding allegations made in the Complaint for use against
Defendants, and then claim immunity from the FRCP by labeling the deposition as “investigative.”


2
  There was a discussion with counsel in this case in which the City promised to confirm if the investigation was
related to this lawsuit. Plaintiffs aver that there is simply no way that the investigation is not intermingled with this
lawsuit as it exposes Hernandez’ finances – and, potentially, statements -- to the OIG in a way that can be ultimately
accessible to the Law Department once completed and, potentially, used against Hernandez. See MCC 2-56-060
(providing that relevant investigative information, along with an SRI, shall be provided to the head of each
department or agency affected by or involved in the investigation) (https://igchicago.org/wp-
content/uploads/2014/03/OIG-Rules-and-Regulations.pdf (accessed September 12, 2019)).

                                                           12
   Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 13 of 15 PageID #:622




The deposition was clearly intended to elicit testimony regarding allegations made against
Defendants in the Complaint, and was subject to the FRCP.”

       Id. at *3. So too, this Court has repeatedly held in the context of FOIA requests that the

parties are only entitled to that discovery provided by the rules applying their suit. Kanter v. Dep’t

of Justice, 433 F. Supp 812, 816 (N.D. Ill. 1977); Davenport v. Comm’r of Internal Revenue, 1986

WL 8965, *1 (N.D. Ill. 1986) (“Disclosure of information that would circumvent the criminal

discovery rules is not allowed under FOIA.”). In other words, the parties to litigation cannot use

FOIA to circumvent the discovery rules and limitations laid down by the FRCP, nor should they

be able to use the investigative powers of the OIG to do so.

       In no way, shape, or form, is the subpoena for Hernandez’ bank records from May 1, 2017

through May 1, 2019 unrelated to the allegations in this lawsuit. This suit is alleging ethical

violations and misconduct against City employees at the Department of Aviation. Hernandez has

alleged that he has provided information to the OIG tending to support same. The lawsuit seeks

back pay for lost overtime and other make whole relief, and, to that extent, mitigation, other

earnings, and Plaintiff’s finances are discoverable in this suit. Hernandez further avers that he is

willing to provide the information requested, but wants the Defendant City to comply with the

FRCP regarding discovery. Hernandez believes this information should be produced in the context

of this lawsuit, and not through underhanded subpoenas for documents sent behind his back with

no notification.

   VIII. Corporation Counsel Has Inherent Conflicts Of Interest Representing The
         Municipality And The Individual Defendants.

       In this case, Defendant City of Chicago is arguably able to avoid liability for the conduct

of the individual Defendants by showing that they were acting outside of the scope of their

employment, while the individual Defendants are likely to claim that their actions are immune



                                                 13
   Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 14 of 15 PageID #:622




from liability because all taken within the scope of their employment. Indeed, Defendants Helm

and Martin have asserted immunities based on holding discretionary positions as an affirmative

defense in their Answers. See Dkt. 31, p. 48, ¶3; Dkt. 28, p. 53, ¶3. At the same time that the

individual Defendants have asserted immunity as affirmative defenses in their Answers, the

municipality has asserted that “The City is not liable for an injury caused by an oral promise or

misrepresentation by its employee, whether or not such promise or misrepresentation is negligent

or intentional 745 ICLS [sic] 10-2-2-106.” See Dkt. 32, p. 49, ¶5. The City has also asserted

that “The City is not liable for injury caused by any action of its employees that is libelous or

slanderous or for the provision of information either orally, in writing, by computer or any other

electronic transmission.” See Dkt. 32, p. 49, ¶6.

       It is well-established that, “[w]hen, for example, an individual officer and a municipality

are sued jointly under Section 1983, an attorney representing both defendants is often caught

between a rock and a hard place: A good faith immunity defense for the former may directly

undermine an ‘outside the scope of employment’ defense for the latter (or vice versa)”. Guillen

v. City of Chicago, 956 F.Supp.1416, 1424 (N.D. Ill. 1997); see also, e.g., Dow Chem. Pac. Ltd.

v. Rascator Maritime S.A., 782 F.2d 329, 341 (2d Cir. 1986). The foregoing defenses cannot be

effectively advocated for by the same attorneys on behalf of the City of Chicago and on behalf of

the individual Defendants.

       Accordingly, this is an entirely alternative basis to disqualify Corporation Counsel from

joint representation of the individual Defendants and the City of Chicago.

                                         CONCLUSION




                                                 14
   Case: 1:18-cv-07647 Document #: 71 Filed: 09/16/19 Page 15 of 15 PageID #:622




        For the foregoing reasons, Plaintiffs respectfully request that this Court grant this Motion

and enter an order disqualifying Corporation Counsel from representation in this case, and for

such other relief as the Court deems just and proper.

                                                             Respectfully submitted,

                                                               /s Cass T. Casper
                                                        By: _____________________________
                                                               One of Plaintiffs’ Attorneys
Cass T. Casper, Esq.
TALON LAW, LLC
105 West Madison Street, Suite 1350
Chicago, Illinois 60602
P: (312) 351-2478
F: (312) 276-4930
E: ctc@talonlaw.com


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 16, 2019, he caused to be served the

accompanying Plaintiffs’ Motion to Disqualify Corporation Counsel on counsel for all

Defendants via this Court’s CM/ECF filing system, and that counsel for all Defendants are

registered e-filers.

Scott Crouch, Esq.             scott.crouch@cityofchicago.org
Jessica Durkin, Esq.           jessica.durkin@cityofchicago.org

                                                        /s Cass T. Casper
                                                        ____________________________________




                                                 15
